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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW HAMPSHIRE

                                 APPEAL COVER SHEET


1.    D.C.# Civil No. 16-cv-00545-JL                                                  C.C.A.#

2.    TITLE OF CASE: Scottsdale Capital Advisors Corp. et al v. The Deal, LLC et al

3.    NAME OF COUNSEL FOR APPELLANT(S):
      See certified copy of docket (ECF registered users not provided with a copy of docket)

4.    NAME OF COUNSEL FOR APPELLEE(S):
      See certified copy of docket (ECF registered users not provided with a copy of docket)

5.    NAME OF JUDGE: Joseph N. Laplante

6.     COURT REPORTER(S) & DATES:
       Sandra L. Bailey, Telephone # 603 225-1454 - MOTION HEARING - May 15, 2017


       TRANSCRIPTS ORDERED / ON FILE                      YES

7.     HEARING / TRIAL EXHIBITS                           N/A

8.     COURT-APPOINTED COUNSEL                            NO

9.     FEE PAID                                           YES

10.    IN FORMA PAUPERIS                                  NO

11.    MOTIONS PENDING                                    NO

12.    GUIDELINES CASE                                    NO

13.    RELATED CASES ON APPEAL                            NO

      C.C.A. # (IF AVAILABLE):

      DATE OF LAST N OF A:

14.   SPECIAL COMMENTS: No evidentiary hearings held. Trial exhibits not applicable
